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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA              )
                                      )        CRIMINAL ACTION NO.
       v.                             )         2:12cr48-MHT
                                      )              (WO)
MICHAEL SMITH                         )

                                   ORDER

       Based upon consideration of the recommendation of the

United States Magistrate Judge (doc. no. 192) and the

objections filed by defendant Michael Smith (doc. no.

206) and by the government (doc. no. 205); and after an

independent and de novo review of the record, including

the    transcript      of   the   hearing     before    the    magistrate

judge, it is the ORDER, JUDGMENT, and DECREE of the

court:

       (1) That defendant Michael Smith’s objection (doc.

no. 206) is overruled;

       (2) That the government’s objection (doc. no. 205) is

overruled;

       (3) That the recommendation of the United States

Magistrate Judge (doc. no. 192) is adopted; and
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    (4) That defendant Smith’s motion to dismiss due to

failure to preserve evidence (doc. no. 112) is denied

with leave to renew if the evidence at trial warrants

reconsideration.

                                 ***

    The government objects to certain recitations of

evidence that appear in the report and recommendation.

Because resolution of this objection would have no effect

on the outcome of the issues at hand, the court overrules

the objection.

    DONE, this the 21st day of May, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
